Case 1:16-cr-00206-JMS-TAB Document 111 Filed 10/27/21 Page 1 of 3 PageID #: 1770




                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA

   UNITED STATES OF AMERICA                                Case No. 1:16-cr-206-JMS-TAB-01

                                                           ORDER ON MOTION FOR
   v.                                                      SENTENCE REDUCTION UNDER
                                                           18 U.S.C. § 3582(c)(1)(A)
   DEVAN PIERSON                                           (COMPASSIONATE RELEASE)


         Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

  in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

  in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

  IT IS ORDERED that the motion is:

  ☐ DENIED.

  ☒ DENIED WITHOUT PREJUDICE.

  ☐ OTHER:

  ☒ FACTORS CONSIDERED: See attached opinion.

  IT IS SO ORDERED.
Case 1:16-cr-00206-JMS-TAB Document 111 Filed 10/27/21 Page 2 of 3 PageID #: 1771




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                            )
                                                       )
                                Plaintiff,             )
                                                       )
                           v.                          )        No. 1:16-cr-00206-JMS-TAB
                                                       )
  DEVAN PIERSON,                                       ) -01
                                                       )
                                Defendant.             )

                                               ORDER

         Defendant has filed a motion seeking compassionate release. Dkt. 109. He seeks immediate

  release from incarceration. He argues that "extraordinary and compelling reasons" support his

  release within the meaning of 18 U.S.C. § 3582(c)(1)(A)(i) because changes to his statute of

  conviction mean that he would likely receive a shorter sentence if he were sentenced today. Id.

         On September 9, 2021, the Court ordered Defendant to show cause why the Court should

  not deny his motion for compassionate release because his argument was barred by the rationale

  of United States v. Thacker, 4 F.4th 569 (7th Cir. 2021). Dkt. 110. The Court warned Defendant

  that it would deem his motion abandoned and deny it without prejudice if he failed to respond as

  required by the Order. Id. The deadline for responding to the Court's show-cause Order has now

  passed. Id. As of the writing of this Order, Defendant has not filed the required response.

         Accordingly, his motion for compassionate release, dkt. [109], is deemed abandoned and

  denied without prejudice. Nothing in this Order prevents Defendant from filing another motion

  for compassionate release.

         IT IS SO ORDERED.


         Date: 10/27/2021
Case 1:16-cr-00206-JMS-TAB Document 111 Filed 10/27/21 Page 3 of 3 PageID #: 1772




  Distribution:

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